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10
                                     UNITED STATES DISTRICT COURT
11
                                    NORTHERN DISTRICT OF CALIFORNIA
12

13
     MARK WISE, individually, and on behalf of other     Case No. 3:24-cv-01161-AMO
14   members of the general public similarly situated,
                                                         Honorable Araceli Martinez-Olguin
15                     Plaintiff,
                                                         DEFENDANTS’ REPLY TO PLAINTIFF
16          v.                                           MARK WISE’S OPPOSITION TO
                                                         DEFENDANTS’ MOTION TO STAY
17   INTERCONTINENTAL HOTELS GROUP                       PROCEEDINGS
     RESOURCES, LLC, a Delaware limited liability
18   company; IHG MANAGEMENT                             [Removed From San Francisco County
     (MARYLAND) LLC, a Maryland limited                  Superior Court Case No. CGC-23-611350]
19   liability company; INTERCONTINENTAL
     HOTELS OF SAN FRANCISCO, INC., a                    Date:     October 3, 2024
20   Delaware corporation; SIX CONTINENTS                Time:     2:00 p.m.
     HOTELS, INC., a Delaware corporation; and           Ctrm:     10
21   DOES 1 through 100, inclusive,                      Judge:    Hon. Araceli Martinez-Olguin
22                     Defendants.                       Complaint Filed: December 29, 2023
                                                         Trial Date: None Set
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 1 I.       Introduction

 2          The Ninth Circuit has cautioned district courts against disregarding the first-to-file rule lightly.

 3 In this case, the first-filed action has been actively litigated and is approaching a class certification

 4 deadline of September 27, 2024, approximately two months away. In contrast, this second-filed action

 5 has been largely dormant. Based on the procedural postures of these cases, the first-to-file rule strongly

 6 favors a temporary stay of this second-filed case, so the issues of class certification can be resolved in

 7 the first-filed case without unnecessary disruptions and delays.

 8          However, Plaintiff Mark Wise (“Wise”) opposes Defendants’ Motion to Stay and asks this Court

 9 in the second-filed case to disregard the first-to-file rule because he is “working together” with Robert
10 Martinez (“Martinez”), who filed the first class action. There is a strong presumption across the federal

11 circuits that favors the forum of the first-filed lawsuit. Wise has failed to articulate any justification for

12 pursuing his second-filed case in this Court, as opposed to the district court presiding over the first-filed

13 case. As such, Wise’s proposal is nothing but an improper attempt at forum shopping.

14          Wise also argues that the first-to-file rule should not apply because the parties and claims are not

15 “identical” in both cases. Specifically, Wise identifies two entity defendants named in this case that are

16 not named in the first-filed case. However, Wise offers no facts to show the relationship between these

17 entities and the other named entities. Wise also offers no facts to show whether these additional entities

18 owned or operated any hotels in California, or employed any workers in California. Wise also argues

19 that he has a vacation pay claim that was not asserted in the first-filed case. However, he is mistaken, as
20 Martinez expressly identifies vacation pay as one of the theories of recovery in the first-filed case.

21          In any event, the first-to-file rule does not require identical parties or identical claims, as long as

22 the parties and claims are substantially similar in both cases. Here, both cases assert overlapping claims

23 for alleged violations of the California Labor Code on behalf of other similarly situated non-exempt

24 employees in California. Accordingly, there can be no question that the parties and claims are

25 substantially similar to warrant the application of the first-to-file rule.

26          Wise also argues that he and the proposed class will be harmed by a temporary stay because the

27 statute of limitations for class action claims are not tolled during the pendency of another class action.

28 However, this is a red herring, as Wise has already filed his class action, and he is not pursuing any
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 1 untimely claims that would require tolling the statute of limitations during the pendency of a class

 2 certification decision in the first-filed case.

 3          In sum, Wise has not presented any justification, let alone “compelling circumstances,” to

 4 warrant an exception to the first-to-file rule. Thus, the Court should decline Wise’ invitation to disrupt

 5 the proceedings in the first-file case and instead temporarily stay this second-filed case until a class

 6 certification decision is issued in the first-filed class action.

 7 II.      Plaintiff Offers No Justification For Transferring The First-Filed Case To This Court
 8          A.      The First-To-File Rule Should Not Be Disregarded Lightly
 9          Wise relies on the decision in Iglesias v. Arizona Beverages USA, LLC, 2023 WL 6795416, at *3
10 (N.D. Cal. Oct. 13, 2023), and argues that the Court should disregard the first-to-file rule because it is

11 “discretionary.” (Opp., 4.)

12          However, Plaintiff conveniently omits the other part of the decision, where the district court

13 cautioned that the first-to-file rule “should not be disregarded lightly.” Iglesias, 2023 WL 6795416, at

14 *3 (emphasis added). The district court further held that “[c]ourts will typically make exceptions to the

15 rule if there has been bad faith, anticipatory suit, or forum shopping.” Id.

16          Here, none of these factors exist to warrant an exception to the rule. Indeed, Wise has not

17 presented any argument that any of these exceptions apply to render the first-to-file rule inapplicable.

18          B.      Wise Has Not Presented Any Compelling Circumstances To Depart From The First-
                    To-File Rule
19
20          Wise argues that the first-to-file rule is “no longer relevant” because the plaintiffs in Wise and

21 Martinez have agreed to work together. (Opp., 4.) But Wise has not identified any authority to support

22 this purported exception to the first-to-file rule.

23          Even assuming arguendo that “working together” can be an exception to the first-to-file rule,

24 Wise has not offered any reason to support transferring the first-filed case (i.e., Martinez) to this Court,

25 as opposed to transferring this later-filed case to the district court presiding over the first-filed case. Nor

26 has Wise explained why this determination should be decided by this Court, as opposed to the district

27 court presiding over the first-filed case.

28          “Where two actions involving overlapping issues and parties are pending in two federal courts,
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 1 there is a strong presumption across the federal circuits that favors the forum of the first-filed suit under

 2 the first-filed rule.” Manuel v. Convergys Corp., 430 F.3d 1132, 1135 (11th Cir. 2005); Spirit Clothing

 3 Co. v. Boxercraft Inc., 2014 WL 12585663, at *1 (C.D. Cal. May 22, 2014) (holding that “when two

 4 identical actions are filed in courts of concurrent jurisdiction, the court which first acquired jurisdiction

 5 should try the lawsuit and no purpose would be served by proceeding with a second action”).

 6          “An exception to the first-filed rule is warranted if there are ‘compelling circumstances’ that

 7 favor giving precedence to the second-filed action.” VBConversions LLC v. Buildertrend Sols., Inc.,

 8 2017 WL 2469969, at *4 (C.D. Cal. June 5, 2017) (emphasis added); Mekanism, Inc. v. Red Tettemer,

 9 Inc., 2008 WL 11454784, at *1 (N.D. Cal. Nov. 5, 2008) (holding that “unless compelling circumstances
10 justify departure from the rule, the first-filing party should be permitted to proceed without concern

11 about a conflicting order being issued in the later-filed action”) (citing Guthy-Renker Fitness, L.L.C. v.

12 Icon Health & Fitness, Inc., 179 F.R.D. 264, 269 (C.D. Cal. 1998)).

13          Moreover, district courts have routinely held that “it is the court in which the first-filed action

14 was brought that should decide whether an exception to the first-filed rule applies.” VBConversions LLC,

15 2017 WL 2469969, at *4; see also Spirit Clothing Co., 2014 WL 12585663, at *2 (holding that the

16 “equitable determination should normally be made by ‘the court with the first-filed action’”).

17          Here, “working together” does not justify a departure from the rule requiring the first-filed case

18 to proceed. Even if consolidation of the cases is appropriate, Wise has not offered any reason or

19 “compelling circumstances” to warrant transferring the first-filed case to the second filed case.
20          Indeed, there is no justification for proceeding in this Court with the later-filed case, as opposed

21 to the Southern District of California with the earlier-filed case. Doing so would upend the proceedings

22 in the earlier-filed case, especially considering that the parties in the earlier-filed case had already

23 engaged in significant litigation activities, including attending a full session of the Early Neutral

24 Evaluation, proposing pretrial schedules, completing a scheduling conference with the Court,

25 exchanging 2,000 pages of informal discovery, propounding and responding written discovery, and

26 scheduling the deposition of the plaintiff and the corporate representative. (See Li Decl. Dkt. 18, ¶5-7.)

27          More importantly, the district court in Martinez has already set a class certification deadline for

28 September 27, 2024, which is approximately two months away. (Li Decl., ¶8, Ex. C.) Leading up to the
                                                         3
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 1 class certification deadline, the parties in Martinez have been moving at full speed to complete the

 2 necessary pre-certification discovery. (Li Supp. Decl., ¶4-7.) For example, the parties have already

 3 negotiated an agreed-upon sample for the time and pay records of the proposed class members. (Id. at

 4 ¶4.) The parties in Martinez have also negotiated an agreed-upon sample of the class list and the

 5 permissive use of the private contact information of the potential class members. (Id. at ¶4.) Counsel for

 6 Martinez has issued a deposition notice for the person most knowledgeable under Rule 30(b)(6) and

 7 identified 16 topics to be covered at the deposition, as well as 29 separate document requests to be

 8 produced at deposition. (Id. at ¶5.)

 9          Despite the extensive amount of active litigation in the earlier-filed Martinez case, Wise proposes
10 that the parties should agree to start over in this Court, where they have only exchanged the initial

11 disclosures and filed this instant Motion to Stay. Wise’s attempt to proceed in this Court is not only

12 unjustified but also a blatant attempt at improper forum shopping and disrupting the proceedings in the

13 first-filed case.

14 III.     All Factors Of The First-To-File Rule Are Met
15          A.         The Martinez Action Has Made Significant Progress In The Litigation Process And
                       Is Far Ahead Of The Wise Action
16

17          Wise argues that the Court should overlook the chronology of these lawsuits because they “were

18 filed just one day apart,” thereby suggesting there is not a “meaningful” difference between the two cases.

19 (Opp, 8-9.) Not so.
20          Although Wise and Martinez were filed only one day apart, these cases are in very different stages

21 of litigation. As discussed in Defendant’s moving papers, it is uncontroverted that there have been

22 significant activities in the Martinez Action. (Motion [Dkt. 18-1], 4.) Even after the filing of this Motion,

23 the parties in Martinez have made additional progress towards the class certification deadline: 1) the

24 parties have negotiated an agreed-upon sample for the time and pay records of the proposed class

25 members; 2) the parties have also negotiated an agreed-upon sample of the class list and the permissive

26 use of the private contact information of the potential class members; 3) the defendants have produced

27 the agreed-upon class list in June 2024; 4) the counsel for Martinez has issued a deposition notice of the

28 defendants’ person most knowledgeable under Rule 30(b)(6); 5) the parties have exchanged their first
                                                         4
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 1 sets of discovery requests, including the requests for production of documents and special interrogatories

 2 from both the plaintiff and defendants; 6) the plaintiff has provided his responses to the defendants’ first

 3 set of requests for production of documents; and 7) the parties have completed Martinez’s deposition for

 4 July 24, 2024. (Li Supp Decl. ¶6.)

 5          In contrast, it is uncontroverted that this later-filed case has been largely dormant. (Mot., 4.) To

 6 date, the parties in this case have not exchanged any documents. No discovery plan is in place. No

 7 depositions have been taken or scheduled in this case. In fact, no scheduling order was issued and no

 8 deadlines have been set by this Court. Nor have the parties participated in any settlement conferences or

 9 exchanged information to discuss a possible early resolution of this lawsuit. (Li Supp. Decl. ¶8.)
10          For these reasons, all the cases relied upon by Wise (Opp. 5-6) are distinguishable because, in

11 those instances, both the first-filed and second-filed cases were at the same initial stage of litigation,

12 with no significant progress made in either case. See, e.g., Scholl v. Mnuchin, 483 F. Supp. 3d 822, 827

13 (N.D. Cal. 2020) (declining to apply the first-to-file rule because “the cases are in their infancy and

14 neither case has clearly expended more effort or made more progress, the rule’s motivation and

15 rationale is diminished”); Z–Line Designs, Inc. v. Bell'O Int'l LLC, 218 F.R.D. 663, 665 (N.D. Cal. 2003)

16 (concluding that where the initial action was filed only two days before the second, the importance of

17 the earlier filing date was diminished because of “the lack of progress in either litigation”); Recoton

18 Corp. v. Allsop, Inc., 999 F. Supp. 574, 578 (S.D.N.Y. 1998) (granting the motion to transfer because

19 “no further progress has been made in this action that would militate against transfer to another
20 district”). Accord Nat’l Union Fire Ins. Co. of Pittsburgh, Pa. v. Payless Shoesource, Inc., 2012 WL

21 3277222, at *3-9 (N.D. Cal. Aug. 9, 2012) (holding that an exception to the first-to-file rule applied

22 because the second-filed case had “already proceeded to the initial discovery phase…, leading to briefing

23 dispositive motions,” whereas the first-filed case “remain[ed] in its infancy with no substantive motions

24 having come before this court”).1

25

26

27   1
    Wise also cites to Douglass v. Reliant Life Shares LLC, 2023 WL 8882606, at *1 (C.D. Cal. Apr. 7,
28 2023). (Opp., 6.) However, Douglass does not involve the application of the first-to-file rule. Thus, the
   decision in Douglass is inapplicable.
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 1           B.      The Parties Are Substantially Similar Because Of The Significant Overlap Of
                     Parties In Martinez And Wise
 2
             Wise argues that the second prong—similarity of the parties—is not satisfied because his lawsuit
 3
     named “two additional defendants that are not named in Martinez.” (Opp., 6.) Specifically, Wise refers
 4
     to Intercontinental Hotels of San Francisco and Six Continents Hotels, Inc. (Id.)
 5
             However, Wise offers no facts to explain the relationship between these entities and the other
 6
     defendants named in this lawsuit. Wise offers no facts to show if these two entities owned or operated
 7
     any hotels in California during the proposed class period. Wise offers no facts to show if these two
 8
     entities employed any workers (directly or indirectly) in California during the proposed class period.
 9
             Wise also argues that the second prong of the first-to-file rule is not met because “Defendants
10
     intend to narrow the putative classes in both Wise and Martinez.” (Opp., 7.) Wise argues that the parties
11
     are not substantially similar because Defendants stated in their Notice of Pendency of Other Action or
12
     Proceeding (Dtk. 11) that they “have been actively meeting and conferring with counsel in the first-filed
13
     Martinez action to narrow the scope of the proposed class and identify the claims that will be pursued in
14
     that action.” (Opp., 7.)
15
             Yet, Wise offers no facts or details as to whether the plaintiff in Martinez has already agreed to
16
     narrow the scope of the proposed class or claims in the Martinez case. This is because Martinez has not
17
     agreed to narrow the scope of the proposed class or abandon any claims that were asserted in the Martinez
18
     lawsuit. (Li Supp. Decl., ¶3.)
19
             The omission speaks volumes. Since Wise and Martinez are “working together,” it is reasonable
20
     to expect a declaration from Martinez or his counsel to articulate with specificity which groups of
21
     employees are not covered in the Martinez lawsuit and which claims are not pursued in the Martinez
22
     lawsuit. Yet, Wise offers no details and merely relies on unfounded speculations.
23
             More importantly, even if the proposed classes in Martinez and Wise are not identical, that does
24
     not weigh against the application of the first-to-file rule. It is well-settled that the first-to-file rule does
25
     not require identical parties. Rather, it is satisfied as long as “some of the parties in one matter are also
26
     in the other matter, regardless of whether there are additional, unmatched parties in one or both matters.”
27
     Wallerstein v. Dole Fresh Vegetables, Inc., 967 F. Supp. 2d 1289, 1295 (N.D. Cal. 2013); see also Kohn
28
     L. Grp., Inc. v. Auto Parts Mfg. Mississippi, Inc.,, 787 F.3d 1237, 1240 (9th Cir. 2015) (holding that “the
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             DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO STAY PROCEEDINGS
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 1 first-to-file rule does not require exact identity of the parties”); Koehler v. Pepperidge Farm Inc., 2013

 2 WL 4806895, at *3-4 (N.D. Cal. Sept. 9, 2013) (holding that the first-to-file rule was satisfied because

 3 the proposed classes substantially overlapped where the plaintiff in the second action “will become part

 4 of [the plaintiff in the second action]’s nationwide class, at least as to the common law claims, if that

 5 class is certified”).

 6          C.      The Claims In Wise Are Wholly Encompassed By The Claims In Martinez
 7          Wise argues that the third prong—the similarity of the issues—is not met because he has raised

 8 a claim for failure to pay vacation wages, which he contends is not at issue in Martinez. (Opp., 8.)

 9 However, Wise is incorrect. The Martinez complaint expressly includes a claim for failure to provide
10 “all owed vacation pay and/or paid time off.” (Li Decl., Ex. A, ¶81.) The Martinez complaint also

11 specifies that the “vacation pay/paid time off” was not “paid at the final rate including non-discretionary

12 compensation….” (Id.)

13          In fact, Martinez has sought to take the deposition of a person most knowledgeable under Rule

14 30(b)(6) regarding his vacation pay claim: he seeks 1) “software, programs, databases, and/or platforms

15 used by DEFENDANT to process payroll during the CLASS PERIOD. This topic will cover … the

16 accrual and use of vacation pay;” and 2) “DEFENDANT’S policies and practices for paying final wages

17 to CLASS MEMBERS upon separation of employment, including the calculation of the employee’s final

18 rate of pay for purposes of unused, accrued vacation pay….” (Li Supp. Decl., ¶5, Ex. A.) If Martinez

19 has decided to abandon the vacation pay claim in Martinez, he has not informed Defendants. (Id.) Nor
20 has Wise submitted any declaration from Martinez or his counsel to indicate their intention to abandon

21 the vacation pay claim in Martinez.

22          Wise also argues that he has a wage statement claim that is predicated on the vacation pay claim.

23 (Opp., 8.) However, Martinez has already asserted a wage statement claim in the earlier-filed lawsuit.

24 Given that Martinez has also asserted a vacation pay claim, Wise’s wage statement claim is entirely

25 duplicative.

26          In any event, the first-to-file rule does not require identical issues or “exact parallelism,” as long

27 as “the two proceedings are “substantially similar.” Kohn Law Grp., Inc., 787 F.3d at 1240. As

28 Defendants outlined in their moving papers, which Wise does not dispute, both Wise and Martinez share
                                                         7
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 1 significant overlap with respect to the claims asserted. (Mot., 6.) These claims include (1) failure to pay

 2 minimum wages, (2) failure to pay overtime wages, (3) failure to furnish accurate wage statements,

 3 (4) failure to reimburse business expenses, and (5) violation of the Unfair Competition Law. (Id. at 6-7.)

 4          Wise relies on three district court decisions to argue against the application of the first-to-file

 5 rule. (Opp., 8.) However, all three cases support Defendants’ Motion because, in each instance, the

 6 district court applied the first-to-file rule despite variations in the claims asserted between the first-filed

 7 and second-filed cases. Young v. L'Oreal USA, Inc., 526 F. Supp. 3d 700, 706 (N.D. Cal. 2021) (holding

 8 that first-to-file rule applies because the “legal issues” in the two actions were “substantially similar even

 9 when the subsequently filed action brought its claims under different state law” and based on different
10 products); Figueroa v. Autozoners, LLC, 2019 WL 11023547, at *2 (C.D. Cal. Jan. 31, 2019) (granting

11 the defendants’ motion to stay, even though “[t]he court is cognizant of the fact that Plaintiff’s FAC

12 included causes of action that were not pleaded in [the first-filed action] ….”); Van v. Rasier, LLC,

13 2018 WL 11347243, at *4-5 (C.D. Cal. Jun. 6, 2018) (granting the defendant’s motion to stay, even

14 though the second-filed case includes additional claims, such as “fraudulent concealment, conversion,

15 and UCL violations” that were not asserted in the first-filed case).

16 IV.      Wise Has Not Shown Any Unfair Prejudice By A Temporary Stay
17          A.      American Pipe Tolling Is Inapplicable In This Case
18          Wise erroneously argues that if his case “is stayed until Martinez is resolved, Plaintiff will not

19 be able to litigate this claim [i.e., the vacation pay claim] and the statute of limitations will not be tolled
20 for the class claims.” (Opp., 9.)

21          Wise’s argument is both factually incorrect and legally unsound. As discussed above, Wise is

22 factually incorrect to claim that the earlier-filed Martinez lawsuit does not contain a claim for vacation

23 pay. More importantly, Wise is completely off base about the statute of limitations and the tolling rules

24 set forth in American Pipe & Const. Co. v. Utah, 414 U.S. 538 (1974), and China Agritech v. Michael

25 H. Resh, 584 U.S. 732, 732 (2018).

26          Under American Pipe, the U.S. Supreme Court “established that ‘the commencement of the

27 original class suit tolls the running of the statute [of limitations] for all purported members of the class

28 who make timely motions to intervene after the court has found the suit inappropriate for class action
                                                          8
            DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO STAY PROCEEDINGS
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 1 status.’” China Agritech, 584 U.S. at 739 (citing American Pipe, 414 U.S. at 553) (modification in

 2 original). In the subsequent decision of China Agritech, the U.S. Supreme Court explored whether the

 3 so-called “American Pipe tolling” applies to “time-barred class claims.” China Agritech, 584 U.S. at 740.

 4 The U.S. Supreme Court concluded that the “[t]ime to file a class action falls outside the bounds of

 5 American Pipe.” Id. at 747.

 6          Here, Wise incorrectly claims that his class action “is not tolled pending the class certification

 7 ruling in Martinez.” (Opp., 10.) However, neither American Pipe nor China Agritech applies in this

 8 context. Wise has already filed a class action against Defendants, and he is not seeking to pursue untimely

 9 class action claims that would require tolling the statute of limitations during the pendency of a class
10 certification decision in Martinez. In other words, Wise’s class action claims will not become untimely

11 by a temporary stay.

12          B.      Wise’s Reliance On Adoma Is Misplaced Because This Is Not An FLSA Action
13          Wise also relies on the decision in Adoma v. Univ. of Phoenix, Inc., 711 F. Supp. 2d 1142, 1149

14 (E.D. Cal. 2010), for the proposition that a stay would cause undue prejudice to himself and other

15 potential class members he seeks to represent. (Opp., 9.) However, there is an important factual

16 distinction that renders Adoma inapplicable here.

17          As Wise acknowledged, Adoma involved a claim under the federal Fair Labor Standards Act

18 (“FLSA”). (Opp., 9.) Unlike class actions under Rule 23, collective actions under the FLSA require

19 absent plaintiffs to “affirmatively opt-in through written and filed consent.” Adoma, 711 F. Supp. 2d at
20 1147. Until the absent plaintiffs opt-in to the collective action, the statute of limitations continues to run.

21 Id. (“The requirement for the filing of the ‘written consent to become a party plaintiff’ is for the specific

22 purpose of determining the applicability of the statute of limitations.”). As Adoma explained, there are

23 unique differences between a class action claim and a collective action claim:

24          unlike in a class action where the statute of limitations is tolled while a plaintiff seeks
            class certification, the rights members of a proposed collective action are not so protected.
25
            […] Accordingly, the statute of limitations for members of plaintiff's proposed collective
26          action runs until the class member opts in to the action.

27 Id. at 1150. In this case, Wise does not assert a collection action claim under the FLSA. As such, no opt-

28 in requirement applies. More importantly, the statute of limitations for the class action claims are tolled
                                                          9
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 1 while the plaintiff seeks class certification. Thus, there can be no prejudice by the stay.

 2           C.     There Is No Evidence To Suggest That Martinez And His Counsel Will Not Protect
                    The Interest Of The Absent Class Members
 3
             Wise also argues that he and the proposed class members “will face further harm, such as the risk
 4
     that ‘witness memories may fade, turnover of employees may result in diminished access to material
 5
     witnesses, and it may become more too difficult to locate and notify putative class members as time
 6
     lapses.” (Opp., 10.) These arguments are unavailing for several reasons.
 7
             First, Wise erroneously ignores the fact that Martinez and his counsel have been diligently
 8
     prosecuting the class action claims in the earlier-filed case. As discussed above, Martinez has already
 9
     obtained voluminous amount of information through informal and formal discovery. The parties in the
10
     Martinez lawsuit have also begun scheduling and taking depositions. (Li Supp. Decl., ¶5-6.) Given that
11
     Martinez is actively prosecuting his case, discoverable information will not be lost during the stay of this
12
     case.
13
             Second, Defendants’ request for a stay is temporary through a certification decision in Martinez.
14
     The stay will only span a few months, considering that the class certification deadline in Martinez is set
15
     for September 27, 2024, which is only two months away. (Li Decl., ¶8, Ex. C.) If the district court
16
     certifies the class in Martinez, the absent class members will be represented by class counsel. Given that
17
     Wise and Martinez are already “working together,” there can be no argument that Martinez or his counsel
18
     cannot adequately protect the interest of the proposed class.
19
             Third, Wise’s argument is disingenuous. Like the Martinez lawsuit, Wise filed this class action
20
     almost a year ago in October 2023. Yet, unlike Martinez, who already obtained a significant amount of
21
     discovery and made significant progress towards seeking class certification, no discovery has been
22
     conducted in this case, except the exchange of the initial disclosures, which was ordered by this Court.
23
     Given that Wise has been dormant for almost a year, it is disingenuous to claim that a temporary stay of
24
     a few months will be unduly prejudicial.2
25

26   2
     Wise also cites to Abante Rooter & Plumbing Inc. v. Nationwide Mut. Ins. Co., 2018 WL 573576, at
   *3 (N.D. Cal. Jan. 26, 2018), to argue against the application of the first-to-file rule. (Opp., 10.)
27
   However, Abante Rooter involves actions filed in two different states with entirely unrelated parties
28 and does not involve the application of the first-to-file rule. Thus, the decision in Abante Rooter is
   inapplicable.
                                                       10
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 1 V.      Conclusion

 2         For all the foregoing reasons, Defendants respectfully request that this Court grant Defendants’

 3 Motion and stay this action temporarily until the class certification decision can be decided in the

 4 Martinez litigation.

 5 DATED: July 26, 2024                               SEYFARTH SHAW LLP

 6

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